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                                              March 7, 2022
 VIA ECF

 Hon. Robert M. Levy, U.S.M.J.
 U.S. Dist. Court Eastern District of New York
 225 Cadman Plaza East, 1214 South
 Brooklyn, New York 11201

         Re:     Strike 3 Holdings, LLC v. John Doe infringer identified as using IP address
                 74.72.24.181
                 Dkt. No. 1:21-cv-00792-WFK-RML

 Judge Levy,

        As Your Honor is aware, I represent Plaintiff Strike 3 Holdings, LLC (“Plaintiff”) in the
 above-referenced matter. Please accept this letter as the status report required by Your Honor’s
 February 18, 2022 text order.

         By way of background, this matter was initiated against a John Doe party after which
 Plaintiff promptly sought, and was granted, leave to conduct limited early discovery to identify the
 subscriber assigned the IP address used to engage in the infringement of Plaintiff’s copyrighted
 works. After the ISP responded to the subpoena, Plaintiff filed a redacted version of its Amended
 Complaint on August 19, 2021, D.E. 10, and sought leave to file unredacted versions of that
 document (and other that identify Defendant) as “ex parte” documents (due to Defendant’s
 presumed privacy interests), D.E. 11, which this Court granted on August 27, 2021.

        On September 9, 2021, Plaintiff sought an extension of the deadline to effect service of
 process in this matter, D.E. 16, which this Court granted on September 13, 2021. After numerous
 good faith efforts to effect personal service failed, Plaintiff effected service of process in this matter
 using New York’s “affix-and-mail” service method. D.E. 17, 18; see Fed. R. Civ. P. 4(e)(1); NY
 CPLR § 308(4). The posting occurred on September 28, 2021, and the mailing occurred on
 September 29, 2021. Pursuant to NY CPLR § 308(4), service was not “complete” until ten days
 after Plaintiff filed its proof of service, which occurred on October 7, 2021. D.E. 17, 18.
 Accordingly, service was not “complete” until October 18, 2021, and Defendant’s response to the
 First Amended Complaint was originally due on November 8, 2021. Fed. R. Civ. P. 6(a), 12(a).
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 Hon. Robert M. Levy, U.S.M.J.
 March 7, 2022
         On October 19, 2021, Defendant sought a first extension of the deadline to respond to the
 First Amended Complaint, with Plaintiff’s consent, due to confusion over the effective date of
 service. D.E. 19. The Court granted that request and extended the deadline to December 8, 2021.

         On December 7, 2021, Defendant sought a second extension of the deadline to respond to
 the First Amended Complaint, with Plaintiff’s consent, due to health issues. D.E. 22. The Court
 granted that request and extended the deadline to January 7, 2022.

          On January 11, 2022, Plaintiff contacted Defendant by email to inquire whether he had
 filed a response to the First Amended Complaint and, if so, requested that he please provide a copy
 of that document. From January 12 to January 17, 2022, the parties engaged in series of email
 communications that included (1) Defendant’s request for Plaintiff’s consent so that he could file
 a “pre trial motion” and (2) discussions to share documents subject to a confidentiality agreement
 as part of settlement negotiations.1 Since the response deadline had been extended twice, Plaintiff
 asked Defendant what the basis of the pre-trial motion would be before providing its consent for a
 third extension, but that issue was not explored further since the parties’ discussion had moved
 toward a potential settlement.

        To date, Defendant has not responded to Plaintiff’s last email to Defendant on January 17,
 2022, in which Plaintiff outlined various documents it was willing to review, subject to a
 confidentiality agreement, so that Plaintiff could better evaluate its settlement position.

         Plaintiff provided a copy of the Court’s February 18, 2022 text order to Defendant on that
 same date, via email. On March 3, 2022, Plaintiff provided Defendant with a draft copy of this
 status report, via email. On Sunday, March 6, 2022, Defendant responded to Plaintiff, with the
 enclosed email, after which Plaintiff amended this paragraph before filing this Status Report with
 the Court. Plaintiff respectfully clarifies that it did not consent to Defendant’s August 7, 2021
 extension request because the ISP produced the subpoena response on August 4, 2021.

        Plaintiff takes no position on Defendant’s request for a third extension to respond to the
 First Amended Complaint.

         Thank you for your attention to this matter.

                                                        Respectfully submitted,

                                                        /s/ John C. Atkin

                                                        John C. Atkin, Esq.

 cc:     John Doe infringer identified as using IP address 74.72.24.181
         (via Email and First Class Mail)
 Encl.


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   Plaintiff notes that it is not providing details regarding these settlement discussions for the
 impermissible purpose of showing the validity/amount of its claim. F.R.E. 408.
